     Case 2:22-cv-08230-HDV-E Document 200 Filed 06/06/24 Page 1 of 2 Page ID #:1413



1                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE CENTRAL DISTRICT OF CALIFORNIA
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3     MAUREEN HARRINGTON, AS
      PERSONAL REPRESENTATIVE FOR                                  JS-6
4
      THE ESTATE OF BLAINE
5
      HARRINGTON III,                               Civil Action No. 2:22-cv-08230-HDV-
                                                    E
6                         Plaintiff,
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                   v.
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                                                    JUDGMENT
      DEEPAK DUGAR, M.D. a MEDICAL
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      CORPORATION,
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                         Defendant.
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            The Court called this action for trial on May 28, 2024, which continued
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      through May 30, 2024, in Courtroom 5B of the United Stated District Court, the
16

17    Honorable Hernán D. Vera presiding.

18          In accordance with the jury verdict in this case, and the Court’s prior
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      findings, IT IS ORDERED, ADJUDGED, and DECREED that Judgment be
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      entered against defendant Deepak Dugar, M.D., a Medical Corporation
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      (“Defendant”) and in favor of plaintiff Maureen Harrington, as Personal
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23
      Representative for the Estate of Blaine Harrington III (“Plaintiff”). Plaintiff shall

24    have and recover from Defendant the sum of $10,000.00, plus post-judgment

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1     interest under 28 U.S.C. § 1961 accruing the day judgment is entered up until the
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      date judgment is satisfied. Such amount excludes Plaintiff’s attorneys’ fees and
3
      costs.
4
               SO ORDERED.
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8              6/5/24
                            ___
      Dated: __________________             ___
                                             ____________________________
                                            ____________________________
9                                           HERNAN
                                            HEERRNAN D. VERA
                                            UNITED
                                            UNITED STATES
                                                    STATES DISTRICT JUDGE
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